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Application GRANTED nunc pro tunc. Any application to restore this action shall be filed by July
8, 2024.

Dated: June 24, 2024
       New York, New York




BY ECF

The Honorable Lorna G. Schofield
United States District Court for the Southern District of New York
40 Foley Square
New York, New York 10007

                Re: Larimer v. Lehman College - CUNY, et al., 23-CV-10447 (LGS-KHP)

Dear Judge Schofield:

        We represent plaintiff Amy Larimer in this case. The parties informed Your Honor that
they reached a settlement in principle and, on May 22, 2024, Your Honor issued an Order
providing that the case was dismissed and could be restored to the Court’s calendar within 30 days
(by June 21). The parties have exchanged drafts of the settlement papers, but have not yet finalized
them. We anticipate doing so within the next two weeks, and the parties therefore respectfully and
jointly request that the Court extend the deadline for restoring the case to the calendar until July 8,
2024.

       We thank Your Honor for her consideration of this request.

                                                        Respectfully submitted,

                                                        CERASIA LAW LLC



                                                        Edward Cerasia II

                                                        /s/ Mark R. Ferguson
                                                        Mark R. Ferguson
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